                                                May 8, 2025

Via ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    SEC v Medallion Fin. Corp., et al., No. 21-cv-11125 (S.D.N.Y.)

Dear Judge Kaplan:

        Plaintiff Securities and Exchange Commission (“SEC”) respectfully provides this status
report regarding the proposed settlements with the defendants. The Commission has not yet
reviewed the proposed settlements; therefore, the SEC respectfully requests that the Court permit
the SEC to provide a further status report by June 6, 2025, if the SEC has not submitted proposed
consent judgments as to the defendants to the Court by that date. A proposed Stipulation and
Order is attached.

                                                 Respectfully submitted,

                                                 /s/ David Stoelting
                                                 ____________________
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cc:    All counsel of record (by ECF)
